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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

JESSICA MARSHALL,                            )
                                             )
               Plaintiff,                    )
                                             )
v.                                           )       Case No. 4:16-cv-01400
                                             )
MEDICREDIT, INC.,                            )
                                             )
               Defendant.                    )

               JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       COME NOW Plaintiff Jessica Marshall and Defendant Medicredit, Inc., by and through

undersigned counsel, and herein jointly stipulate that the above-styled action shall be dismissed,

with prejudice, with each party to pay their own attorneys’ fees and costs.

       Respectfully submitted this 2nd day of November, 2016:


KIMMEL & SILVERMAN, P.C.                          OGLETREE, DEAKINS, NASH
                                                  SMOAK & STEWART, P.C.

/s/ Amy L. Bennecoff Ginsburg*                    /s/ Aimee B. Parsons
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                               CERTIFICATE OF SERVICE

       I hereby certify that on November 2nd, 2016, I electronically filed the above and
foregoing through the Court’s CM/ECF system, which will send notification to the following
counsel of record:

       Amy L. Bennecoff Ginsburg, Esq.
       Richard J. Albanese
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                                                          /s/ Aimee B. Parsons
                                                          Aimee B. Parsons




                                              2                                      SL 2104742.1
